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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

             v.                                    Case No. 21-cr-353-JDB

 NICHOLAS LANGUERAND,

                  Defendant.

                    GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Nicholas Languerand to 51 months’ incarceration, three years of supervised

release, a fine, $2,000 in restitution, and the mandatory $100 special assessment.

   I.      INTRODUCTION

        Languerand actively participated in the January 6, 2021 Capitol Riots, a violent attack on

the United States Capitol that forced an interruption of the certification of the 2020 Electoral

College vote count, threatened the peaceful transfer of power after the 2020 Presidential election,

injured more than one hundred law enforcement officers, and resulted in more than a million

dollars’ worth of property damage. After watching for hours as other rioters repeatedly assaulted

the officers defending the Lower West Terrace entrance to the Capitol – a scene that horrified the

rest of the world – Languerand chose to join in. Languerand put himself among the front ranks

of the rioters and threw a variety of dangerous objects at the police.

        Languerand’s social media posts demonstrate that prior to his arrest, he had no remorse for

his conduct on January 6. To the contrary, Languerand bragged about his assaults on police,
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posting to Instagram, “I never made it inside but I got some good shots in” and in another post,

after recounting his conduct at the Capitol, Languerand said “it felt good.” Languerand said that

a merely peaceful protest would not have been successful in pressuring Congress, and posted

messages showing that he anticipated and welcomed further violence, telling his Instagram

followers that “Violence isn’t always the answer but in the face of tyranny violence may be the

only answer” and “Next time we come back with rifles.”

         As discussed below, Languerand’s history of violent and threatening conduct, his acts of

violence on January 6, and his lack of remorse warrant a significant sentence of imprisonment.

Accordingly, the government recommends that the Court sentence Languerand to 51 months in

custody, in the middle of the Sentencing Guideline range as calculated by the U.S. Probation Office

and as contemplated in the parties’ plea agreement.

   II.      FACTUAL AND PROCEDURAL BACKGROUND

         A. The January 6, 2021, Attack on the Capitol

         On January 6, 2021, several hundred rioters, Languerand among them, attacked the U.S.

Capitol in an effort to disrupt the peaceful transfer of power after the November 3, 2020

Presidential election. Many rioters attacked and injured law enforcement officers, sometimes

with dangerous weapons; they terrified congressional staff and others on scene that day, many of

whom fled for their safety; and they ransacked the Capitol Building—vandalizing, damaging,

and/or stealing artwork, furniture, and other property. Although the facts and the circumstances

surrounding the actions of each rioter who breached the U.S. Capitol and its grounds differ, each

rioter’s actions were illegal and contributed, directly or indirectly, to the violence and destruction

that day. See United States v. Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 25 (“A


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mob isn’t a mob without the numbers. The people who were committing those violent acts did so

because they had the safety of numbers.”) (statement of Judge Chutkan).

       The day started out calmly enough. As set forth in the PSR and the Statement of Offense

incorporated into Languerand’s plea agreement, a joint session of Congress had convened at

approximately 1:00 p.m. at the U.S. Capitol. Members of the House of Representatives and the

Senate were meeting to certify the vote count of the Electoral College of the November 3, 2020

Presidential election. By approximately 1:30 p.m., the House and Senate adjourned to separate

chambers to resolve a particular objection. Vice President Mike Pence was present and presiding,

first in the joint session, and then in the Senate chamber.

       As the proceedings continued, and with Vice President Pence present and presiding over

the Senate, a large crowd gathered outside the U.S. Capitol. Temporary and permanent barricades

were in place around the exterior of the building, and U.S. Capitol Police (“USCP”) were present

and attempting to keep the crowd away from the building and the proceedings underway inside.

At approximately 2:00 p.m., certain individuals unlawfully forced their way over the barricades

and past the officers, and the crowd advanced to the exterior of the building. Members of the

crowd did not submit to standard security screenings or weapons checks by security officials.

       The vote certification proceedings were still underway, and the exterior doors and windows

of the U.S. Capitol were locked or otherwise secured. Members of the USCP attempted to keep

the crowd from entering; however, shortly after 2:00 p.m., individuals in the crowd forced their

way in, breaking windows and assaulting law enforcement officers along the way, while others in

the crowd cheered them on.

       At approximately 2:20 p.m., members of the House of Representatives and the Senate,


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including the President of the Senate, Vice President Pence, were instructed to—and did—

evacuate the chambers. All proceedings, including the joint session, were effectively suspended.

The proceedings resumed at approximately 8:00 p.m. after the building had been secured. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the session resumed. See Statement of Offense at ¶¶ 1-3; PSR at ¶¶ 9-15.

 Attempted Breach of the Capitol Building and Assaultive Conduct in Tunnel Leading to the
                   Doors of the West Front of the U.S. Capitol Building

       The fighting in the lower West Terrace tunnel was nothing short of brutal. Here, I
       observed approximately 30 police officers standing shoulder to shoulder, maybe
       four or five abreast, using the weight of their bodies to hold back the onslaught of
       violent attackers. Many of these officers were injured, bleeding, and fatigued, but
       they continued to hold the line. Testimony of USCP Sgt. Gonell, MPD Officer
       Fanone, USCP Officer Dunn, and MPD Officer Hodges: Hearing Before the House
       Select Comm. to Investigate the January 6th Attack on the United States Capitol,
       117 Cong. (July 27, 2021) (Statement of Officer Michael Fanone) available at
       https://www.c-span.org/video/?513434-1/capitol-dc-police-testify-january-6-
       attack.

       One of the most violent confrontations on January 6 occurred near an entrance to the

Capitol Building in the area known as the Lower West Terrace (“LWT”). The entrance usually

consists of a flight of stairs leading to a doorway. On January 6, 2021, however, the construction

of the inaugural stage converted the stairway into a 10-foot-wide, slightly sloped, short tunnel that

was approximately 15 feet long. That tunnel led to two sets of metal swinging doors inset with

glass. On the other side of the two sets of swinging doors is a security screening area with metal

detectors and an x-ray scanner and belt, that leads into the basement of the Capitol Building. The

exterior of the tunnel is framed by a stone archway that is a visual focal point at the center of the

West Front of the Capitol Building. This archway is also of great symbolic significance as it has

been the backdrop for nine presidential inaugurations, is draped in bunting during the event, and


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is the entrance for the President-Elect and other dignitaries on Inauguration Day. See Figure A. 1




                                               Fig. A

       On January 6, 2021, when rioters arrived at the doors behind this archway, the outer set of

doors was closed and locked, and members of Congress who had fled from the rioters were

sheltering nearby. Members of the USCP, assisted by officers from the District of Columbia

Metropolitan Police Department (“MPD”), were arrayed inside the doorway and guarding the

entrance. Many of these officers had already physically engaged with the mob for over an hour,

having reestablished a defense line here after retreating from an earlier protracted skirmish on the

West Plaza below.

       At approximately 2:42 p.m., the mob broke the windows to the first set of doors, and the



1
   Figure A is an image from the website “Inauguration at the U.S. Capitol”, Architect of the Capitol,
https://www.aoc.gov/what-we-do/programs-ceremonies/inauguration. The archway is circled in red.
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law enforcement officers reacted immediately by spraying Oleoresin Capsicum (“OC”) spray at

the rioters, who continued to resist. The mob continued to grow, and the rioters pushed their way

into the second set of doors, physically engaging law enforcement with batons, poles, chemical

spray, bottles and other items. Officers created a line in the doorway to block the rioters and

physically engaged them with batons and OC spray. At a later hearing on the events of January

6, Congressman Stephanie Murphy described her experience nearby this location in response to

testimony from MPD Officer Daniel Hodges, who was assaulted while caught in the tunnel doors

between the two forces:

       January 6th was an attack on our democracy, it was an attack on the peaceful transfer
       of power, and it was an attack on this Capitol building, but it was also an attack on
       real people. And most people don’t know this -- and I don’t think even you know
       this -- but your actions had a profound impact on me. So, at 3:00 p.m. on January
       6th, 2021, while you were holding back the mob at the Lower West Terrace
       entrance, I was holed up with Congresswoman Kathleen Rice in a small office
       about 40 paces from the tunnel that you all were in. That’s about from the distance
       where I’m sitting here on the dais to that back wall. And from that office in close
       proximity to where you all held the line, I listened to you struggle. I listened to
       you yelling out to one another. I listened to you care for one another, directing
       people back to the makeshift eyewash station that was at the end of our hall. And
       then, I listened to people coughing, having difficulty breathing, but I watched you
       and heard you all get back into the fight.” Testimony of USCP Sgt. Gonell, MPD
       Officer Fanone, USCP Officer Dunn, and MPD Officer Hodges: Hearing Before
       the House Select Comm. to Investigate the January 6th Attack on the United States
       Capitol, 117 Cong. (July 27, 2021) (Statement of Rep. Stephanie Murphy) available
       at https://www.c-span.org/video/?513434-1/capitol-dc-police-testify-january-6-
       attack.

The violent and physical battle for control over the LWT entrance in the tunnel and doorway area

continued for over two hours, during which time rioters repeatedly assaulted, threatened, pushed,

and beat law enforcement officers. The battle for the LWT entrance involved intense hand-to-

hand combat, and some of the most violent acts against law enforcement, including the abduction

and tasering of MPD Officer Michael Fanone and the previously-mentioned assault of Officer

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Daniel Hodges.

       During this battle, the vastly outnumbered officers were assaulted with all manner of

objects and weapons, receiving blow after blow from rioters taking turns assaulting them, all in a

concerted effort to breach the doorway to the basement area of the Capitol, disrupt the certification,

and overturn the election results by force. Capitol Police Sgt. Aquilino Gonell, who was present

in the tunnel that day, explained:

       What we were subjected to that day was like something from a medieval battle. We
       fought hand-to-hand, inch-by-inch to prevent an invasion of the Capitol by a violent
       mob intent on subverting our democratic process. My fellow officers and I were
       committed to not letting any rioters breach the Capitol. It was a prolonged and
       desperate struggle. Id. (Statement of Sgt. Aquilino Gonell)

Despite the mob’s efforts, the officers in the LWT held the line with commendable restraint, and

through personal sacrifice and valor.      MPD Officer Michael Fanone remembers one of his

colleagues’ actions that day:

       In the midst of that intense and chaotic scene, [MPD] Commander [Ramey] Kyle
       remained cool, calm, and collected as he gave commands to his officers. “Hold the
       line,” he shouted over the roar. Of course, that day, the line was the seat of our
       American government. Despite the confusion and stress of the situation, observing
       Ramey’s leadership, protecting a place I cared so much about, was the most
       inspirational moment of my life. The bravery he and others showed that day are the
       best examples of duty, honor, and service. Id. (Statement of Officer Michael
       Fanone)

Several officers sustained injuries during this prolonged struggle, and many returned to defend the

Capitol, even when injured, as substantial reinforcements for these officers did not arrive until

heavily armored Virginia State Police officers joined the police line with additional munitions

around 5 pm.

       Despite being under constant assault, these officers nevertheless provided first aid to

injured rioters who were trapped in the tunnel area, including those who had difficulty breathing

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as a result of chemical irritants that had been used in the tunnel area. It is not an exaggeration to

state the actions of these officers in thwarting the mob at the LWT entrance likely saved the lives

of others, including potential harm to members of Congress.

             Injuries and Property Damage Caused by the January 6, 2021 Attack

       The D.C. Circuit has observed that “the violent breach of the Capitol on January 6 was a

grave danger to our democracy.” United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir.

2021). Members of this Court have similarly described it as “a singular and chilling event in U.S.

history, raising legitimate concern about the security—not only of the Capitol building—but of

our democracy itself.” United States v. Cua, No. 21-cr-107, 2021 WL 918255, at *3 (D.D.C. Mar.

10, 2021); see also United States v. Fox, No. 21-cr-108 (D.D.C. June 30, 2021) (Doc. 41, Hrg. Tr.

at 14) (“This is not rhetorical flourish. This reflects the concern of my colleagues and myself for

what we view as an incredibly dangerous and disturbing attack on a free electoral system.”); United

States v. Chrestman, No. 21-mj-218, 2021 WL 765662, at *7 (D.D.C. Feb. 26, 2021) (“The actions

of this violent mob, particularly those members who breached police lines and gained entry to the

Capitol, are reprehensible as offenses against morality, civic virtue, and the rule of law.”).

       In addition, the rioters injured more than a hundred members of law enforcement. See

Staff of Senate Committees on Homeland Security and Governmental Affairs and on Rules and

Administration Report, Examining the Capitol Attack: A Review of the Security, Planning, and

Response     Failures    on     January    6    (June     7,   2021),     at   29,    available    at

https://www.hsgac.senate.gov/imo/media/doc/HSGAC&RulesFullReport_ExaminingU.S.Capitol

Attack.pdf (describing officer injuries). Some of the rioters wore tactical gear and used dangerous

weapons and chemical irritants during hours-long hand-to-hand combat with law enforcement


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officers. See id. at 27-30. Other rioters, like Languerand, transformed ordinary objects, such as

sticks, flag poles, and barricades, into dangerous weapons.

       Moreover, the rioters inflicted significant emotional injuries on law enforcement officers

and others on scene that day who feared for their safety. See id; see also Architect of the Capitol,

J. Brett Blanton, Statement before the House of Representatives Committee on House

Administration (May 19, 2021), available at https://www.aoc.gov/sites/default/files/2021-

05/AOC_Testimony_CHA_Hearing-2021-05-19.pdf (describing the stress suffered by Architect

of the Capitol employees due to the January 6, 2021, attack).

       Finally, the rioters stole, vandalized, and destroyed property inside and outside the U.S.

Capitol Building. They caused extensive, and in some instances, incalculable, losses. This

included wrecked platforms, broken glass and doors, graffiti, damaged and stolen sound systems

and photography equipment, broken furniture, damaged artwork, including statues and murals,

historic lanterns ripped from the ground, and paint tracked over historic stone balustrades and

Capitol Building hallways. See id; see also United States House of Representatives Curator Farar

Elliott, Statement Before the House Appropriations Subcommittee on the Legislative Branch (Feb.

24, 2021), available at https://docs.house.gov/meetings/AP/AP24/20210224/111233/HHRG-117-

AP24-Wstate-ElliottF-20210224.pdf (describing damage to marble and granite statues). As set

forth in the Statement of Offense, the attack resulted in substantial damage to the U.S. Capitol,

requiring the expenditure of nearly $1.5 million. See PSR ¶ 14.

       B. Languerand’s Role in the January 6, 2021, Attack on the Capitol

       Languerand traveled to Washington, D.C., by car from Vermont, where he was living at

the time. After attending the former President’s rally, Languerand made his way to the U.S.


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Capitol. Languerand spent hours in the area of the Capitol known as the Upper West Terrace

(“UWT”). After the riot, Languerand posted to Instagram an image of the Capitol Building with

circles indicating the locations on the UWT where he was “hanging out” most of the time, as well

as an “X” over the LWT Tunnel, which Languerand said was “the spot where a huge fight between

police and PATRIOTS when [sic] on for literally hours. People died.” In the post, Languerand

also lamented that he had lost some “badass photos” he had taken and asked his followers to send

him any “good photos” of himself or his “Pepe the frog” flag. See Figure B.




                                                  Fig. B

       Languerand’s admission that he watched the violence against police “for literally hours”

is consistent Languerand “selfie” post to Reddit, which, based on the lighting and number of rioters

visible, shows that by 3 p.m., Languerand was at the north end of the UWT with a view of the

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LWT below him. See Fig. C.




                                                        Fig. C

           Approximately one hour later, Languerand on the south end of the UWT, waiving his “Pepe

the frog” flag, looking down at the violence occurring at the LWT Tunnel (Figure D). 2




2
    Figure D is a screenshot from a video entitled “354pm” provided to the FBI in connection with a tip.
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                                                       Fig. D

          After the riot, Languerand recorded a video describing his view of the LWT battle, calling

it a “straight-up fight” against the police, mentioning specifically the “heave ho” chants of the

rioters pushing against police and an incident in which rioters used a ladder as a battering ram to

break through the line of police. See Exhibit 1 at 2:10 – 3:15. 3

          But Languerand was not satisfied just to watch the violence; he wanted to take attack the

police himself. By approximately 4:52 p.m., Languerand had come down from the UWT and was

on the steps just below the LWT archway. For the next 10 minutes, Languerand moved in and

out of the front line of rioters, taking turns with the other rioters who were relentlessly attacking

the police.

          At approximately 4:53 p.m., Languerand took a white piece of wood from another rioter



3
    Exhibit 1 is a video Languerand posted to his Instagram account at approximately 11:21 pm on January 7, 2021.
                                                         12
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and threw at the officers. See Exhibit 2 at :05 4; Exhibit 3 at :01. 5




                                                      Fig. E

Approximately three minutes later, Languerand and another rioter threw a heavy black audio

speaker at the police. See Exhibit 4 at :01; 6 Ex. 3 at 3:28 – 3:30. Though Languerand was not

separately charged with throwing this audio speaker, the government submits this is relevant

conduct which the Court can consider pursuant to U.S.S.G. § 1B1.3.



4
  Exhibit 2 is an excerpt of a video obtained from the cellphone of another Capitol Riot defendant and designated
“1610.mov.” Figure E is a screenshot from :05 into the excerpt.
5
  Exhibit 3 is an excerpt of closed circuit security video (“CCTV”) from a camera inside the LWT tunnel during the
entire period of Languerand’s attacks. The video from this camera is publicly available at
https://youtu.be/_a3RGlu5yLs.
6
  Exhibit 4 is an excerpt of a video obtained from Facebook at
https://www.facebook.com/calvin.johnson.5264/videos/158540386049458, entitled “US Capitol Building 7.” Figure
F is a screenshot from :03 into the excerpt. The link to the video is no longer active, but a copy of the video was
produced in discovery.
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                                                      Fig. F

Fortunately, the audio speaker hit one of the officers’ riot shields rather than an officer. The

impact was recorded by the body-worn camera of an officer inside the tunnel. See Exhibit 5. 7




                                                      Fig. G


7
  Exhibit 5 is an excerpt of body worn camera footage from an officer inside the LWT Tunnel. Figure G is a
screenshot from :01 into the excerpt. As discussed below, this speaker appears to be the same as the one thrown by
another Capitol Riot defendant earlier in the day. At that time, the speaker hit another rioter in the head, drawing
blood.
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         About one minute later, Languerand threw two sticks in rapid succession at the officers,

which landed inside the tunnel. See Exhibit 6 8; Ex. 3 at 4:35 – 4:40.




                                                       Fig. H

         Three minutes later, Languerand threw another stick at the officers, which ricocheted off

their riot shields. See Exhibit 7 at :01 9; Ex. 3 at 7:52 – 7:53.




                                                       Fig. I

8
  Exhibit 6 is an excerpt of video from the body worn camera of an officer inside the tunnel, recorded at half-speed.
Figure H is a screenshot from :06 into the excerpt.
9
  Exhibit 7 is an excerpt of publicly available video entitled “Live_Capitol on Lockdown, Senate and House in
Recess” available at https://youtu.be/vTXOkcwYxvE. Figure I is a screenshot from :01 into the excerpt.
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         A few seconds later, Languerand threw a large orange traffic bollard, which ricocheted off

the riot shield of an officer before colliding with multiple officers inside the archway. See Exhibit

8 at :03 - 07 10; Ex. 3 at 7:58 – 8:01, Ex. 7 at :09 - :10.




                                                       Fig. J

About one minute later, Languerand threw a pepper spray container, see Ex. 8 at 1:17 – 1:19,

followed by a bottle of liquid. Id. at 1:42.

         Approximately 30 seconds later, Languerand threw a piece of wood, see Exhibit 9 at 1:03

– 1:06 11; Ex. 3 at 9:59 – 10:01.




10
   Exhibit 8 is an excerpt of a video entitled 501.mp4 provided to the FBI in connection with a tip. Figure J is a
screenshot from :06 into the excerpt.
11
   Exhibit 9 is a video from Getty Images designated 1295078236. Figure K is a screenshot from 1:04 into the
video.
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                                                Fig. K

           A few seconds later, Languerand threw another stick at the police. See Ex. 8 at 2:19 –

2:21 (Figure L); Ex. 9 at 1:18.




                                                   Fig. L

           As part of his guilty plea, Languerand has admitted that based on the size and weight of

the orange bollard and the stick-like objects, and the speed and force with which they were thrown,

these objects were capable of inflicting serious bodily injury. See Statement of Offense, ¶ 9; PSR

at ¶ 17.
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        After throwing the last item, Languerand took hold of a stolen police riot shield.

Demonstrating that he was still ready and willing to confront the police, Languerand slammed the

shield on the ground several times and thrust it towards the police. See Ex. 8 at 2:40 – 3:00 (Figure

M).




                                                   Fig. M

        Soon thereafter, law enforcement officers emerged from the LWT tunnel firing tear gas,

and Languerand and the other rioters left the area.

        C. Languerand’s Post-Riot Social Media Posts

        In the immediate aftermath of the riots, Languerand’s social media posts made clear that

he was not only proud of his conduct on January 6, but that he was ready and willing to engage

in further violence.

        In an Instagram post from the evening of January 6, 12 Languerand bragged that he had


12
   The time stamps on Languerand’s Instagram posts are in Coordinated Universal Time (“UTC”), which in January
is five hours ahead of Washington, D.C. time. Around the time these posts were made, Languerand had
approximately 56 followers observing what he was posting.
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attacked the police (“I got some good shots in”) and admitted that he had seen the violence that

occurred that day (“it got really violent”). Languerand claimed to have stolen a riot shield and

having been pepper sprayed, but was exhilarated by the experience (“it was lit”). Languerand

also admitted his goal had been to get inside the Capitol (“I never made it inside”).




        In another post, Languerand said there had been an “all out fight between the police

defending the building and the patriots that were there” and bragged that he was “all the way at

the top right on the front lines of it.”




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       A few hours later, Languerand again bragged about how he (and the other rioters) “were

straight up fighting these riot cops in the doorway of the capital [sic] building.” Languerand

proudly proclaimed that “it was fucking insane.”




       Demonstrating his expectation of future violence and willingness to participate in it,

Languerand posted, “Next time we come back with rifles. It’s not a game.”




       About twenty minutes later, he posted “This is just the beginning. We have only just

begun to fight.”




       A few minutes later, dismissing the false claim that Antifa was responsible for the riot,

Languerand took credit for having been involved in the riot and said “it felt good.”

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       The next day, Languerand likened his actions at the Capitol to the American Revolution

and asserted that the violence on January 6 was justified.




       On January 7, 2021, Languerand posted a video to Instagram, excitedly describing the

events at the LWT as “absolutely some legendary shit.” Ex. 1 at 3:36-39.

       On January 9, 2021, Languerand posted his belief that a peaceful protest would not have

been successful in overturning the election, which is why violence had been justified. Languerand

said, in part, “Do you think that the people in that building would’ve been swayed by a peaceful

protest, even there were 2 or even 3 times as many people there?” and “I don’t want to sound like

I’m condoning violence . . . . HOWEVER, In the face of absolute tyranny violence is the only

option.” Languerand also made clear that he felt justified in trying to overthrow the government,

noting that while the “Constitution does not say anything about overthrowing the government” he

believed the Declaration of Independence “absolutely does.”




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       D. Languerand’s Arrest

       Languerand was arrested in South Carolina on April 15, 2021, at the home of his

grandparents, where he had relocated after January 6.        Inside Languerand’s room, law

enforcement found a large number of weapons, including an AR-15 semi-automatic rifle with

magazine, a Stevens 12 gauge shotgun, a Remington shotgun Model 770, a tactical vest, a pistol

case, ammunition and brass knuckles. Law enforcement also found a notebook filled with

Languerand’s writings, which included references to various conspiracy theories, including the

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QAnon conspiracy theory, and a page containing references to “Washington DC Rally 0700,”

“Emergency Supplies,” and “Firearms.”




       Law enforcement also seized Languerand’s cellphone, which contained several incendiary

references to the events of January 6 and to the FBI, including:

       •     An undated note stating “If you are ok with fraudulently certifying an election to win,
             then I’m ok with attacking a government building to stop you”




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•     A note from March 25, stating “A poem I wrote: Dear FBI, if you play nice, so will I.
      If you shoot my dog, we will all die.”




•     A note from April 9, stating in part, “The FBI should really find a better hobby than
                                          24
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  intimidating and persecuting the patriots who stood up for their constitutional rights
  and against the seditious infiltration of the psychopathic criminal mafia into the
  government that they have sworn to protect.”




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Languerand’s cellphone also contained pictures of the leaders of the Proud Boys, 13 the logo of the

militia organization the “Three Percenters,” 14 pictures of Nazi iconography, and several images

of Languerand wearing a Guy Fawkes mask and holding weapons.




13
   Proud Boys is a nationalist organization with multiple US chapters and potential activity in other Western
countries. The group describes itself as a “pro-Western fraternal organization for men who refuse to apologize for
creating the modern world; aka Western Chauvinists.” Proud Boys members routinely attend rallies, protests, and
other First Amendment-protected events, where they sometimes engage in violence against individuals whom they
perceive as threats to their values. The group has an initiation process for new members, who often wear yellow and
black polo shirts or other apparel adorned with the Proud Boys logo to events.
14
   Militia extremists sometimes call themselves three percenters (“III%ers” or “threepers”) based on the myth that
only three percent of American colonists took up arms against the British during the American Revolution. Some
III%ers regard the present-day US Government as analogous to British authorities during the Revolution in terms of
infringements on civil liberties. While many independent or multi-state militia groups incorporate III% in their unit
names, the term is less indicative of membership in a single overarching group than it is representative of a common
belief in the notion that a small force with a just cause can overthrow a tyrannical government if armed and
prepared.
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         With the consent of Languerand’s grandparents, law enforcement also searched the trailer

in Vermont where Mr. Languerand lived prior to January 6, 2021. There, agents found more

notebook pages containing militaristic language seemingly referring to Washington, D.C. One

page was headed “(Obj Washington) (N & J).” Another page was titled “Target list” and included

subheadings “Attack,” “Breach,” and “Assault.” Outside the trailer, law enforcement found an

old pickup truck and a makeshift target with the rough outline of a human, both riddled with bullet

holes.




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   III.      PROCEDURAL BACKGROUND

          The Department of Justice began its investigation into the attack on the U.S. Capitol mere

hours after the breach occurred on January 6, 2021. As of January 19, 2022, the Department has

brought charges by complaint, information, or indictment against approximately 723 defendants.

The charges range from Obstruction of an Official Proceeding, in violation of 18 U.S.C. §

1512(c)(2), and Assaulting, Resisting or Impeding Law Enforcement, in violation of 18 U.S.C. §

111(a) and (b), to Entering and Remaining in a Restricted Building or Grounds, in violation of 18

U.S.C. § 1752(a) and Parading, Demonstrating, or Picketing in a Capitol Building, in violation of

40 U.S.C. § 5104(e). Of those defendants, as of January 13, 2022, at least 139 have pleaded guilty

to misdemeanor charges and at least 24 have pleaded guilty to felony charges.



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         On April 12, 2021, Languerand was charged by complaint with violating 18

U.S.C. §§ 111(a)(1) and (b), 231(a)(3), 641, 2 and 1752(a)(1), (2), and (4) and (b)(1)(A) as well

as 40 U.S.C. §§ 5104(e)(2)(D) and (G). On April 15, 2021, Languerand was arrested in South

Carolina and detained by the magistrate judge. On May 12, 2021, a federal grand jury indicted

Languerand and charged him with violating 18 U.S.C. §§ 111(a)(1) and (b), 231(a)(3), 2 and

1752(a)(1), (2), and (4) and (b)(1)(A) as well as 40 U.S.C. §§ 5104(e)(2)(D) and (G). On

November 3, 2021, Languerand pled guilty to Count 2 of the Indictment, charging him with

violating 18 U.S.C. § 111(a)(1) and b.

   IV.      STATUTORY PENALTIES

         The defendant now faces sentencing on a single count of 18 U.S.C. § 111(a)(1) and (b).

As noted by the plea agreement and the U.S. Probation Office, the defendant faces up to 20 years

of imprisonment, a fine up to $250,000, and a term of supervised release of not more than three

years.

   V.       THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

         As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines

should be the starting point and the initial benchmark” for determining a defendant’s sentence.

Id. at 49. The United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) are “the product

of careful study based on extensive empirical evidence derived from the review of thousands of

individual sentencing decisions” and are the “starting point and the initial benchmark” for

sentencing. Id. at 49.


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           The government agrees with the Sentencing Guidelines calculation set forth in the PSR. 15

According to the PSR, the U.S. Probation Office calculated Languerand’s adjusted offense level

under the Sentencing Guidelines as follows:

           U.S.S.G. § 2A2.2(a)                         Base Offense Level                                     [14] 16
           U.S.S.G. § 2A2.2(b)(2)(B)                   Use of Dangerous Weapon                                [+4]
           U.S.S.G. § 2A2.2(b)(7)                      Violation of 111(b)                                    [+2]
           U.S.S.G. § 3A1.2(b)                         Official Victim                                        [+6]

                                                                                   Total                      [26]
See PSR at ¶¶ 24-30.

           The government agrees that Languerand has demonstrated acceptance of responsibility for

the offense, and that a three-level reduction under Guidelines Section 3E1.1(a) is appropriate. See

PSR at ¶¶ 32-33.

           The U.S. Probation Office calculated Languerand’s criminal history as a category I, which

is not disputed. PSR at ¶ 38. Accordingly, the U.S. Probation Office calculated Languerand’s

total offense level at 23, and his corresponding Guidelines imprisonment range at 46-57 months.

PSR at ¶ 77. Languerand’s plea agreement contains an agreed-upon Guidelines range calculation

that mirrors the U.S. Probation Office’s calculation.

     VI.      SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

           In this case, sentencing is guided by 18 U.S.C. § 3553(a). Some of the factors this Court

must consider include: the nature and circumstances of the offense, § 3553(a)(1); the history and

characteristics of the defendant, id.; the need for the sentence to reflect the seriousness of the



15
   Based on the facts and circumstances of Languerand’s case, the government does not seek imposition of an upward
departure pursuant to U.S.S.G. § 3A1.4, n.4 (see Plea Agreement at ¶5(C)), because a sentence within the Guidelines
range is sufficient, but not greater than necessary, to comply with the purposes of sentencing as set forth in 18 U.S.C.
§ 3553(a)(2).
16
   The starting point for a violation of 18 U.S.C. § 111 is U.S.S.G. § 2A2.4. Because the conduct constituted
aggravated assault, the cross-reference in U.S.S.G. § 2A2.4(c)(1) requires the application of U.S.S.G. § 2A2.2.
                                                          30
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offense and promote respect for the law, § 3553(a)(2)(A); the need for the sentence to afford

adequate deterrence, § 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct. §

3553(a)(6). As described below, all of the Section 3553(a) factors weigh in favor of a lengthy

term of incarceration.

A.     Nature and Circumstances of the Offense

       The attack on the U.S. Capitol on January 6, 2021 is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was the one

of the only times in our history when the building was literally occupied by hostile participants.

By its very nature, the attack defies comparison to other events.

       As set forth in the Statement of Offense, Languerand purposefully joined a large group of

rioters that was intent on interfering with the nation’s electoral process. Languerand and the other

rioters not only imperiled core democratic functions but also collectively caused enormous

emotional, physical, and financial injuries along the way. Languerand’s actions on January 6 did

not just violate the law, they showed an absolute disregard for the rule of law

       While each defendant should be sentenced based on his or her individual conduct, each

individual who participated in the riot did so under the most extreme of circumstances, to which

their conduct directly contributed. Anyone who made it to the Capitol would—at a minimum—

have crossed through numerous barriers and barricades, heard the throes of a mob, and smelled

chemical irritants in the air. Depending on the timing and location of their approach, in addition

to their own acts of violence, they likely would have observed other extensive fighting with law

enforcement.


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       While looking at the defendant’s individual conduct, we must assess such conduct on a

spectrum. This Court, in determining a fair and just sentence on this spectrum, should look to a

number of critical factors, to include: (1) whether the defendant entered the Capitol building; (2)

whether the defendant engaged in any violence or incited violence; (3) whether the defendant

engaged in any acts of destruction; (4) the defendant’s reaction to acts of violence or destruction;

(5) whether during or after the riot, the defendant destroyed evidence; (6) the length of the

defendant’s time inside of the building, and exactly where the defendant traveled; (7) the

defendant’s statements in person or on social media; (8) whether the defendant cooperated with,

or ignored, law enforcement; and (9) whether the defendant otherwise exhibited evidence of

remorse or contrition. While these factors are not exhaustive nor dispositive, they help to place

each individual defendant on a spectrum as to their fair and just punishment.

       In the instant case, these factors militate strongly in favor of a significant term of

incarceration.

       First, while Languerand did not enter the Capitol, it was not for lack of trying. The

assaults at the LWT Tunnel in which Languerand participated occurred precisely because the

officers there were protecting that entrance to the Capitol from the rioters intent on entering.

Languerand’s Instagram post from immediately after the riot that he “never made it inside” further

demonstrates that this was his goal.

       Second, Languerand deliberately and repeatedly engaged in violence. Like every other

rioter, Languerand contributed to the collective threat to democracy, physical safety, emotional

well-being, and property on January 6, 2021.         But Languerand is among the most serious

offenders because Languerand chose to use violence. See United States v. Munchel, 991 F.3d


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1273, 1284 (D.C. Cir. 2021) (“those who actually assaulted police officers . . . are in a different

category of dangerousness than those who cheered on the violence or entered the Capitol after

others cleared the way”). While no specific injury has been attributed to his conduct, again, it

was not for lack of trying. Even if they did not cause specific injury, each of Languerand’s attacks

contributed to the overall assault, and each made it more difficult for the officers in the LWT

Tunnel to defend themselves from other attacks.

        Indeed, Languerand may well have planned for violence by bringing a firearm to the

Capitol. His notebook contained a reference to the “Washing DC Rally” just above a reference

to “firearms.” In an Instagram post from the evening of January 6, 2021, in response to a friend

stating he wanted to carry a gun to the inauguration on January 20, but did not have a concealed

carry (“CC”) permit, Languerand claimed that he had been carrying a firearm while at the Capitol

on January 6, 2021.




Languerand also recorded an Instagram video in the late evening of January 8, 2021, in which he

claimed to have bought a gun to the Capitol. See Exhibit 10, at 4:22 (“I had a gun on me, too”). 17

While the government cannot substantiate Languerand’s claim, this evidence raises a significant



17
  Exhibit 10 is a video posted by Languerand to his Instagram account at approximately 11:19 p.m. on January 8,
2021.
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concern that Languerand was armed on January 6.

          Regardless of his level of planning prior to January 6, once at the Capitol he made a

conscious decision to engage in violence. Languerand watched the violence against police for

hours. Instead of leaving or at least standing back, he put himself at the front of the line. His

assaults on law enforcement were not spontaneous or provoked, they were deliberate and

premeditated, and cannot be ascribed to the heat of the moment. Nor did Languerand stop at just

one attack during the riot. He chose to engage in violence repeatedly, and, unlike some of the

other rioters, Languerand chose to use dangerous weapons capable of causing serious bodily

injury.

          Third, while Languerand does not appear to have specifically destroyed property, he used

property that had already been destroyed by other rioters – the audio speaker ripped from its

housing, and sticks and wood broken off from furniture – as weapons against the police.

          Fourth, Languerand’s reaction to the violence he saw on January 6 was not horror or

disgust, but excitement and a desire to contribute to the violence. Even after the riot was over,

Languerand did not feel shame or guilt – he was proud of his actions and he relished the chance to

engage in further violence. The notes found on his cellphone at the time of his arrest demonstrate

that even months after the riot, Languerand still felt justified in his violence.

          The Fifth and Sixth factors are inapplicable. There is no evidence that Languerand

destroyed evidence, and thankfully Languerand did not make it inside the Capitol, though again,

not for lack of trying.

          Seventh, as discussed, Languerand’s statements on social media in the immediate aftermath

of the riot demonstrate not only a lack of remorse, but that Languerand was proud to have engaged


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in violence against law enforcement on January 6, and that he anticipated and welcomed further

violence.

       Eighth, Languerand did not cooperate with law enforcement. Languerand did not speak

to law enforcement at the time of his arrest, and though many other Capitol Riot defendants have

provided information to law enforcement since their arrests, Languerand has not done so. To the

contrary, the notes found on Languerand’s cellphone indicate that his hostility to law enforcement,

and particularly the FBI, has not abated.

       Ninth, though Languerand has accepted responsibility for his actions by pleading guilty,

prior to being arrested and facing significant prison time, Languerand never expressed remorse or

contrition for these actions.

       Accordingly, the nature and circumstances of the offense amply support the recommended

51-month sentence.

B.          The History and Characteristics of the Defendant

       Languerand’s crime on January 6 was not an isolated event in an otherwise law-abiding

life, but rather the latest act in a pattern of misconduct and violence that has persisted throughout

his life, based on Languerand’s demonstrated willingness to allow his personal beliefs to override

the rule of law.

       As the Court noted when considering his motion to revoke detention, “over the past several

years, Mr. Languerand has exhibited a distinct tendency towards threatening and violent conduct.”

DE 23, at 15. In 2019, he was the subject of a protective order issued by the Vermont Superior

Court based on a complaint alleging a pattern of threats, harassment, and stalking. See id.

Among other things, the complaint alleged that Languerand had sent “threatening texts saying he


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is going to kill me, himself, or other people I associate with,” and it related one particular incident

when Languerand repeatedly threatened to kill the complainant if she attended a certain party.

See id. at 15, n. 16. Three months later, Languerand was charged with aggravated assault for an

incident in which he beat an acquaintance while they were both riding in a car. See id. at 16.

       As the Court also noted, Languerand “has a pattern of following conspiracy theories into

belligerent confrontations with the people around him.” Id. In particular, Languerand follows the

QAnon conspiracy theory, and is preoccupied with false allegations of pedophilia and child sex

trafficking. In the months preceding January 6th, for instance, Languerand “yell[ed] at [Black

Lives Matter] protestors about pedophilia,” and left a menacing voicemail for a Morristown, VT,

city employee about purported pedophilic symbols on road barriers, telling the employee that

“[Languerand] will be watching [him] and knows what he looks like.” Languerand repeatedly

threatened the proprietors of a pizza restaurant via messages on Instagram before “[coming] to the

restaurant and . . . shouting about how they were running a child sex slave operation in their

basement,” leading the Sheriff’s Department to tell the local police that “they deal with

[Languerand] on a frequent basis, all for similar behavior.” Id. at 16-17.

       Languerand’s history also demonstrates “a deep distrust and hostility toward law

enforcement.” Id. at 17. On March 3, 2019, Languerand “became extremely hostile” during a

traffic stop, “yell[ing] and scream[ing] profanity at [the officers]” and later telling them that he

“hates cops.” In May 2020, Mr. Languerand told a sheriff’s deputy responding to a call that “he

didn’t give a fuck who [the deputy] was and what [he] was doing.” Then, when Languerand’s




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dog approached the officer, in a statement presaging the “poem” he wrote about the FBI in March

2021, Languerand said “if you shoot my dog I’ll shoot you.” Id. at 17-18.

        While Languerand served in the military, which might ordinarily be a mitigating factor, “it

also raises the question as to why one who had that training, took those oaths, would nonetheless

engage in this kind of conduct.” United States v. Nelson and Markofski, 21-cr-344 (Bates, J.)

(Dec. 10, 2021 Sentencing Transcript) (“Nelson Tr.”), at 48. Moreover, his military service lasted

only three years before terminating in an administrative separation due to his drug use.

        Languerand’s unique history of threats and violence distinguish him from other Capitol

Riot defendants and weighs heavily in favor of a lengthy term of incarceration.

C.      The Need for the Sentence Imposed to Reflect the Seriousness of the Offense and
        Promote Respect for the Law

        The attack on the U.S. Capitol building and grounds, and all that it involved, was an attack

on the rule of law. “The violence and destruction of property at the U.S. Capitol on January 6

showed a blatant and appalling disregard for our institutions of government and the orderly

administration of the democratic process.” 18 As this Court has stated, it was “a riot, or an

insurrection, that undermined our electoral process.” Nelson Tr., at 41.

        As with the nature and circumstances of the offense, this factor supports a significant

sentence of incarceration.        As Languerand entered the Capitol grounds and watched law

enforcement officers being assaulted, it was abundantly clear to him that lawmakers, and the law

enforcement officers who tried to protect them, were under siege by others similarly willing to use

force to undermine the election. Law enforcement officers were overwhelmed, outnumbered, and


18
   Federal Bureau of Investigation Director Christopher Wray, Statement before the House Oversight and Reform
Committee (June 15, 2021) , available at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20 Testimony.pdf
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in some cases, in serious danger. Languerand saw that situation and instead of feeling sympathy

for the police, he decided he wanted to join in the attack. Assaulting law enforcement officers

with a dangerous weapon is the epitome of disrespect for the law.

           Accordingly, the government submits that this factor requires a lengthy sentence of

imprisonment. A lesser sentence would suggest to the public, in general, and other rioters,

specifically, that assaults on police officers are not taken seriously. In this way, a lesser sentence

could encourage further abuses. See Gall, 552 U.S. at 54 (it is a “legitimate concern that a lenient

sentence for a serious offense threatens to promote disrespect for the law”).

D.         The Need for the Sentence to Afford Adequate Deterrence

           Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

                                               General Deterrence

           A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C. § 3553(a)(2)(B). The need to deter others is especially strong in cases involving

domestic terrorism, which the breach of the Capitol certainly was. 19 The demands of general

deterrence weigh strongly in favor of incarceration, as they will for nearly every case arising out

of the violent riot at the Capitol. The violence at the Capitol on January 6 was cultivated to

interfere, and did interfere, with one of the most important democratic processes we have: the




19
     See 18 U.S.C. § 2331(5) (defining “‘domestic terrorism’”).
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transfer of power. As noted by Judge Moss during sentencing, in United States v. Paul Hodgkins,

21-cr-188-RDM:

       [D]emocracy requires the cooperation of the governed. When a mob is prepared to
       attack the Capitol to prevent our elected officials from both parties from performing
       their constitutional and statutory duty, democracy is in trouble. The damage that
       [the defendant] and others caused that day goes way beyond the several-hour delay
       in the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was

seven months ago for the United States and our diplomats to convince other nations to pursue

democracy. It means that it will be harder for all of us to convince our children and our

grandchildren that democracy stands as the immutable foundation of this nation.” Id. at 70.

       The gravity of these offenses demands deterrence. This was not a protest. See id. at 46

(“I don’t think that any plausible argument can be made defending what happened in the Capitol

on January 6th as the exercise of First Amendment rights.”). And it is important to convey to

future rioters and would-be mob participants—especially those who intend to improperly influence

the democratic process—that their actions will have consequences. There is possibly no greater

factor that this Court must consider.

                                        Specific Deterrence

       The need for the sentence to provide specific deterrence to this particular defendant also

weighs heavily in favor of a lengthy term of incarceration.

       Languerand’s willingness to translate his personal beliefs in to violent and threatening

actions, his history of violent and aggressive behavior before January 6, and his remorseless attacks

on law enforcement on January 6, all demonstrate that a significant term of incarceration is

required to deter Languerand from future acts of violence.


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       Moreover, there is nothing in the record to indicate anything changed for Languerand after

January 6. To the contrary, his post-riot social media posts and the notes on his cellphone show

that he continues to espouse the same conspiracy theories which he believes justified his violent

conduct on January 6 and before.       They also demonstrate the same hostility towards law

enforcement which has pervaded his criminal history. While Languerand is free to express his

beliefs, this Court can and should take his statements into account when assessing the need for

specific deterrence.

E.     The Importance of the Guidelines

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita, 551

U.S. at 349. As required by Congress, the Commission has “‘modif[ied] and adjust[ed] past

practice in the interests of greater rationality, avoiding inconsistency, complying with

congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96 (2007);

28 U.S.C. § 994(m). In so doing, the Commission “has the capacity courts lack to ‘base its

determinations on empirical data and national experience, guided by professional staff with

appropriate expertise,’” and “to formulate and constantly refine national sentencing standards.”

Kimbrough, 552 U.S. at 108. Accordingly, courts must give “respectful consideration to the

Guidelines.” Id. at 101. As the Third Circuit has stressed:

       The Sentencing Guidelines are based on the United States Sentencing
       Commission=s in-depth research into prior sentences, presentence investigations,
       probation and parole office statistics, and other data. U.S.S.G. § 1A1.1, intro,
       comment 3. More importantly, the Guidelines reflect Congress’s determination of
       potential punishments, as set forth in statutes, and Congress’s on-going approval of
       Guidelines sentencing, through oversight of the Guidelines revision process. See

                                               40
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        28 U.S.C. § 994(p) (providing for Congressional oversight of amendments to the
        Guidelines). Because the Guidelines reflect the collected wisdom of various
        institutions, they deserve careful consideration in each case. Because they have
        been produced at Congress's direction, they cannot be ignored.

United States v. Goff, 501 F.3d 250, 257 (3d Cir. 2005). “[W]here judge and Commission both

determine that the Guidelines sentences is an appropriate sentence for the case at hand, that

sentence likely reflects the § 3553(a) factors (including its ‘not greater than necessary’

requirement),” and that “significantly increases the likelihood that the sentence is a reasonable

one.”   Rita, 551 U.S. at 347 (emphasis in original). In other words, “the Commission’s

recommendation of a sentencing range will ‘reflect a rough approximation of sentences that might

achieve § 3553(a)’s objectives.’” Kimbrough, 552 U.S. at 89.

        Here, while the Court must balance all of the § 3553 factors to fashion a just and appropriate

sentence, the Guidelines unquestionably provide the most helpful benchmark. As this Court

knows, the government has charged a considerable number of persons with crimes based on the

January 6 riot. This includes hundreds of felonies and misdemeanors that will be subjected to

Guidelines analysis. In order to reflect Congress’s will – the same Congress that served as a

backdrop to this criminal incursion – the Guidelines will be a powerful driver of consistency and

fairness moving forward.

F.      Unwarranted Sentencing Disparities

        Finally, as to 18 U.S.C. § 3553(a)(6) – the need to avoid unwarranted sentencing disparities

– the crimes that Languerand and others like him committed on January 6 are unprecedented.

These crimes defy statutorily appropriate comparisons to other assaults on law enforcement in

other cases. To try to mechanically compare other defendants prior to January 6, 2021, would be

a disservice to the magnitude of what the riot entailed and signified.

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        As of the date of this sentencing memorandum, there have been only two other sentencings

for Capitol Riot defendants convicted of violating 18 U.S.C. 111(b). Both cases illustrate why

the government’s recommended sentence would not result in any unwarranted sentencing

disparities.

        In United States v. Thompson, 21-CR-461 (RCL), the defendant, like Languerand, engaged

in violence against officers defending the LWT Tunnel. Thompson assisted the mob by helping

take riot shields from the law enforcement officers and bringing other riot shields forward for

rioters to use against the officers. Thompson also joined in an effort by the mob to jointly push

together against the front-line officers in an effort to force their way through the police.

Thompson helped fellow rioters by helping them throw a large audio speaker toward the police

line (which, ironically, struck one of the rioters, drawing blood). 20 Finally, Thompson acquired

a police baton and struck once at a law enforcement officer, hitting that officer in the hand. See

Government Sentencing Memorandum, 21-cr-461-RCL (DE 30), at 9-27. Like Languerand,

Thompson faced a sentencing range of 46-57 months. Judge Lamberth rejected Thompson’s

request for a departure or variance, and sentenced Thompson to 46 months imprisonment.

        A number of factors warrant a higher sentence in this case. Thompson’s minor criminal

history was non-violent, and did not contain anything remotely similar to Languerand’s history of

violent and threatening conduct. Unlike Languerand, Thompson did not brag on social media

about his conduct on January 6 and did not express a willingness to engage in future violence.

Moreover, unlike Languerand, Thompson was extremely cooperative with law enforcement.

Thompson approached law enforcement immediately after he learned the FBI was looking for


20
   As noted previously, the audio speaker appears to be the same as the one which Languerand himself would later
throw at officers in the LWT Tunnel.
                                                       42
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information about him, and agreed to be interviewed in the hopes of aiding law enforcement in the

investigation, though Thompson’s information did not rise to the level of substantial assistance.

Finally, Thompson took the extraordinary step of agreeing to plead guilty before he had even been

charged with a crime.

       In the other Section 111(b) case, United States v. Palmer, 21-cr-328 (TSC), the defendant,

like Languerand, was convicted for throwing objects at law enforcement officers inside the LWT

Tunnel. Specifically, Palmer threw a pole at the officers, and then sprayed the contents of a fire

extinguisher at them, before throwing the fire extinguisher. At the time of sentencing, Palmer’s

sentencing range was 63 to 78 months because Palmer’s post-plea conduct resulted in a denial of

any reduction for acceptance of responsibility. Having found the higher guideline sentencing

range applied, Judge Chutkan rejected Palmer’s request for a downward departure or variance and

imposed a sentence of 63 months.

       Languerand’s conduct involved throwing more items at the police, for a longer period of

time. Moreover, Palmer’s history did not include the kind of violent and threatening behavior

that Languerand has consistently engaged in, and Palmer did not express pride in engaging in

violence the way Languerand has.          Languerand’s conduct therefore fully warrants the

recommended sentence.




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                                        CONCLUSION

       For the reasons set forth above, the government recommends that the Court impose a

sentence of imprisonment of 51 months, which is the midpoint of the Guidelines range as

calculated by the U.S. Probation Office and as agreed upon by the parties in the plea agreement.



                                             Respectfully submitted,

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